          Case 1:20-cv-08924-CM                           Document 1039                   Filed 06/05/23                Page 1 of 7




                                                                 J u n e 5, 2 0 2 3
Vi a E C F
T h e H o n or a bl e G a bri el W. G or e nst ei n
U nit e d St at es M a gistr at e J u d g e
U nit e d St at es Distri ct C o urt
S o ut h er n Distri ct of N e w Y or k
D a ni el P atri c k M o y ni h a n C o urt h o us e
5 0 0 P e arl Str e et
N e w Y or k, N e w Y or k 1 0 0 0 7

           R e:         I n r e: N e w Y or k Cit y P oli ci n g D uri n g S u m m er 2 0 2 0 D e m o nstr ati o ns,
                       N o. 2 0- C V - 8 9 2 4
                       T his Fili n g is R el at e d t o All C as es

D e ar J u d g e G or e nst ei n:
            W e r e pr es e nt t h e Pl ai ntiffs i n P a y n e v. d e Bl asi o a n d writ e r es p e ctf ull y o n b e h alf of all
n o n- st a y e d c o ns oli d at e d c as es t o o p p os e D ef e n d a nts’ pr ot e cti v e or d er t o pr e cl u d e t h e d e p ositi o ns
of f or m er M a y or Bill d e Bl asi o a n d f or m er P oli c e C o m missi o n er D er m ot S h e a. B ot h f or m er
M a y or d e Bl asi o a n d f or m er C o m missi o n er S h e a w er e e xt e nsi v el y a n d p ers o n all y i n v ol v e d i n t h e
dir e cti o n a n d ass ess m e nt of t h e N Y P D’s r es p o ns e t o t h e Pr ot ests. E a c h h as “ u ni q u e first - h a n d
k n o wl e d g e ” of w h et h er, t o w h at e xt e nt, a n d u p o n w h at b asis t h e y dir e ct e d, r atifi e d, or k n o wi n gl y
f ail e d t o st o p t h e u n c o nstit uti o n al pr ot est p oli ci n g at t h e c or e of Pl ai ntiffs’ cl ai ms, a n d t h at
i nf or m ati o n c a n n ot b e o bt ai n e d t hr o u g h ot h er m e a ns. A c c or di n gl y, Pl ai ntiffs c a n est a blis h
“ e x c e pti o n al cir c u mst a n c es ” t o j ustif y t h eir d e p ositi o ns.
            Pl ai ntiffs n ot e t h at t his bri efi n g t a k es pl a c e pri or t o t h e d e p ositi o n of f or m er C hi ef of
D e p art m e nt T er e n c e M o n a h a n — a t w o - d a y d e p ositi o n s c h e d ul e d t o t a k e pl a c e o n W e d n es d a y,
J u n e 7 a n d Fri d a y, J u n e 9 — a n d, at l e ast as of 1 0 p. m. t o d a y, pri or t o t h e pr o d u cti o n of f or m er
C o m missi o n er S h e a’s t e xt m ess a g es .1 B e c a us e t h at e vi d e n c e m a y n arr o w t h e s c o p e of t h es e
d e p ositi o ns or o b vi at e t h e n e e d f or o n e or b ot h , Pl ai ntiffs r e q u est t h e c o urt e xt e n d t h e r e pl y
d e a dli n e t o J u n e 1 2, t h e n e xt b usi n ess d a y aft er t h e cl os e of t h e M o n a h a n d e p ositi o n. D ef e n d a nts
c o ns e nt t o Pl ai ntiffs ’ r e q u est f or t his e xt e nsi o n. I n t h e i nt eri m, Pl ai ntiffs r e n e w t h eir pri or r e q u est
f or t w o f ull d a ys e a c h t o d e p os e Mr. Bl asi o a n d Mr. S h e a. E C F N o. 8 7 6- 2 at 2- 3.
                                                       P r o c e d u r al B a c k g r o u n d
           O n F e br u ar y 8, 2 0 2 3, D ef e n d a nts m o v e d f or a pr ot e cti v e or d er p urs u a nt t o F e d. R. Ci v. P.
2 6( c)( 1)( D) s e e ki n g t o pr e cl u d e t h e d e p ositi o ns of Mr. d e Bl asi o a n d Mr. S h e a ar g ui n g t h at a n y

1
  D ef e n d a nts h a v e a gr e e d t o pr o d u c e C o m missi o n er S h e a’s r es p o nsi v e t e xt m ess a g es b y t h e e n d of J u n e
5, 2 0 2 3 , b ut h a v e n ot pr o vi d e d a ti m eli n e o n t h e pr o d u cti o n of t e xts fr o m M a y or d e Bl asi o.
          Case 1:20-cv-08924-CM                        Document 1039                  Filed 06/05/23              Page 2 of 7




i nf or m ati o n t h e y c o ul d pr o vi d e i n a d e p ositi o n c o ul d b e o bt ai n e d fr o m ot h er d e p o n e nts. E C F N o.
8 4 1 at 6- 7. Pl ai ntiffs o p p os e d t h e m oti o n, ar g ui n g t h at b ot h d e Bl asi o a n d S h e a h a v e “ u ni q u e
p ers o n al k n o wl e d g e ” t h at ot h er wit n ess es l a c k. E C F N o. 8 5 5 at 4- 6. T h e C o urt h el d a dis c o v er y
c o nf er e n c e t o a d dr ess t h e iss u es r ais e d i n t h e l ett ers o n M ar c h 6, 2 0 2 3, a n d or d er e d s u p pl e m e nt al
bri efi n g o n t h e pr ot e cti v e or d er as t o Mr. S h e a a n d Mr. d e Bl asi o. Tr. at 6 4- 6 6 ( M ar. 6, 2 0 2 3).
Aft er t h e p arti es a gr e e d t o a bri ef a dj o ur n m e nt of t h e s u p pl e m e nt al bri efi n g, t h e C o urt or d er e d
t h e p arti es t o s u b mit s u p pl e m e nt al l ett ers a n d r e pli es b y J u n e 5 a n d J u n e 8 , r es p e cti v el y,
r e g ar di n g D ef e n d a nts ’ m oti o n f or a pr ot e cti v e or d er. E C F N o. 9 7 7.
                                                               A r g u m e nt
            I n t h e S e c o n d Cir c uit, a pl ai ntiff s e e ki n g t h e d e p ositi o n of a hi g h-r a n ki n g offi ci al m ust
es t a blis h eit h er “t h at t h e offi ci al h as u ni q u e first - h a n d k n o wl e d g e r el at e d t o t h e liti g at e d cl ai ms
or t h at t h e n e c ess ar y i nf or m ati o n c a n n ot b e o bt ai n e d t hr o u g h ot h er, l ess b ur d e ns o m e or i ntr usi v e
m e a ns. ” N e w Y or k v. U nit e d St at es D e p’t of C o m. , 3 3 9 F. S u p p. 3 d 1 4 4, 1 5 1 ( S. D. N. Y. 2 0 1 8)
( q u oti n g L e d er m a n v. N e w Y or k Cit y D e p’t of P ar ks & R e cr e ati o n , 7 3 1 F.3 d 1 9 9, 2 0 3 ( 2 d Cir.
2 0 1 3)). T h us, “ w h er e a c o urt fi n ds t h at t h e r el e v a nt g o v er n m e nt offi ci al ‘ h as u ni q u e first- h a n d
k n o wl e d g e r el at e d t o t h e liti g at e d cl ai ms, it n e e d n ot m a k e a s e p ar at e fi n di n g t h at t h e n e c ess ar y
i nf or m ati o n c a n n ot b e o bt ai n e d t hr o u g h ot h er, l ess b ur d e ns o m e or i ntr usi v e m e a ns.’ ” I n r e
T err orist Att a c ks o n S e pt. 1 1, 2 0 0 1 , 2 0 2 0 W L 8 6 1 1 0 2 4, at * 1 4 ( S. D. N. Y. A u g. 2 7, 2 0 2 0) (I n r e
T err orist Att a c ks ) ( or d eri n g d e p ositi o ns of hi g h-r a n ki n g S a u di Ar a bi a n g o v er n m e nt offi ci als),
o bj e cti o ns o v err ul e d , 2 0 2 1 W L 2 2 2 7 2 0 4 ( S. D. N. Y. J u n e 2, 2 0 2 1), at * 1 4 ( q u oti n g D e p't of
C o m m er c e , 3 3 9 F. S u p p. 3 d at 1 5 2)).
            T o t h e e xt e nt c o urts c o nsi d er at all w h et h er t h e i nf or m ati o n at iss u e c a n b e o bt ai n e d
t hr o u g h l ess b ur d e ns o m e m e a ns, t h e y “ a c c or d[] l ess w ei g h[t] t o w h et h er t h e i nf or m ati o n c a n b e
o bt ai n e d t hr o u g h l ess b ur d e ns o m e m e a ns a n d w h et h er t h e d e p ositi o n will i nt erf er e wit h t h e
offi ci al's g o v er n m e nt d uti es. ” T err orist Att a c ks , 2 0 2 0 W L 8 6 1 1 0 2 4, at * 1 4. B e c a us e b ot h Mr.
d e Bl asi o a n d Mr. S h e a ar e n ot “ c urr e nt hi g h- r a n ki n g offi ci al[s], ” r e q uiri n g t h e m t o e a c h sit f or a
d e p ositi o n w o ul d n ot i nt erf er e wit h a n y “ gr e at er d uti es ” or ot h er wis e u n d ul y b ur d e n t h e m. S e e
H err er a v. N e w Y or k Cit y D e p’t of E d u c. , 2 0 2 2 W L 2 7 1 9 1 8 6, at * 2 ( S. D. N. Y. J u n e 1 5, 2 0 2 2)
( citi n g L e d er m a n , 7 3 1 F. 3 d at 2 0 3) ( d e n yi n g m oti o n t o q u as h d e p ositi o n of f or m er M a y or d e
Bl asi o) ; s e e N e w Y or k v. U nit e d St at es D e p’t of C o m. , 2 0 1 8 W L 5 2 6 0 4 6 7, at * 1 ( S. D. N. Y. A u g.
1 7, 2 0 1 8) (r ej e cti n g ar g u m e nt t h at c o m p elli n g a sitti n g hi g h-r a n ki n g D OJ offi ci al “t o sit f or a
si n gl e d e p ositi o n w o ul d m e a ni n gf ull y ‘ hi n d er’ hi m ‘fr o m p erf or mi n g his n u m er o us i m p ort a nt
d uti es,’ l et al o n e ‘ u n d ul y b ur d e n’ hi m or t h e [ D OJ]”).
     A. T esti m o n y f r o m M r. d e Bl asi o a n d M r. S h e a Is R el at e d t o t h e E xt e nt t o W hi c h
        T h es e P oli c y m a k e rs A p p r o v e d o r R atifi e d t h e N Y P D’s U n c o nstit uti o n al P r ot est
        P oli ci n g P r a cti c es.
            Pl ai ntiffs bri n g t h es e c as es, i n p art, u n d er a M o n ell t h e or y of li a bilit y, a n d f or m er M a y or
d e Bl asi o a n d C o m missi o n er S h e a p oss ess u ni q u e, first - h a n d p ers o n al k n o wl e d g e t h at g o es t o t h e
c or e of t h os e cl ai ms. U n d er M o n ell v. D e p’t of S o c. S er vs. , 4 3 6 U. S. 6 5 8 ( 1 9 7 8), a cit y m a y b e
h el d li a bl e f or t h e u n c o nstit uti o n al a cts of its offi ci als i n at l e ast t hr e e cir c u mst a n c es. First, a
p oli c y m a k er m a y dir e ctl y p er p etr at e or or d er t h e c o nstit uti o n al d e pri v ati o n or e n a ct a p oli c y t h at



                                                                      2
          Case 1:20-cv-08924-CM                        Document 1039                  Filed 06/05/23              Page 3 of 7




c o m p els a s u b or di n at e t o d o s o. S e e A m n est y A m eri c a v. T o w n of W est H artf or d, 3 6 1 F. 3 d 1 1 3,
1 2 6 ( 2 d Cir. 2 0 0 4). S e c o n d, m u ni ci p al li a bilit y e xists w h er e “t h e p oli c y m a k er w as a w ar e of a
s u b or di n at e’s u n c o nstit uti o n al a cti o ns, a n d c o ns ci o usl y c h os e t o i g n or e t h e m, eff e cti v el y
r atif yi n g t h e a cti o ns. ” I d. at 1 2 6 ( citi n g S orl u c c o v. N e w Y or k Cit y P oli c e D e p’t , 9 7 1 F. 2 d 8 6 4,
8 7 0 – 7 1 ( 2 d Cir. 1 9 9 2) ( “s t ati n g t h at m u ni ci p al li a bilit y li es w h er e t h e s u b or di n at e’s mis c o n d u ct
is ‘s o m a nif est as t o i m pl y t h e c o nstr u cti v e a c q ui es c e n c e of s e ni or p oli c y -m a ki n g offi ci als’ ”)).
“[ B] e c a us e a si n gl e a cti o n o n a p oli c y m a k er’s p art is s uffi ci e nt t o cr e at e a m u ni ci p al p oli c y, a
si n gl e i nst a n c e of d eli b er at e i n diff er e n c e t o s u b or di n at es’ a cti o ns c a n pr o vi d e a b asis f or
m u ni ci p al li a bilit y. ” A m n est y A m. , 3 6 1 F. 3 d at 1 2 7. A n d t hir d, a p art fr o m “ eff e cti v el y r atif yi n g ”
t hr o u g h a c q ui es c e n c e, a p oli c y m a k er m a y dir e ctl y “r atif[ y] t h e s u b or di n at es’ a cti o ns. ” I d. at 1 2 6.
T h e M a y or a n d t h e P oli c e C o m missi o n er ar e a ut h ori z e d p oli c y m a k ers u n d er t h e N e w Y or k Cit y
C h art er. S e e S ot o v. S c h e m bri , 9 6 0 F. S u p p. 7 5 1, 7 5 9 ( S. D. N. Y. 1 9 9 7) ( “ T h e N e w Y or k Cit y
C h art er v ests fi n al p oli c y m a ki n g a ut h orit y i n t h e M a y or . . . . ”); W alt o n v. S afir , 1 2 2 F. S u p p. 2 d
4 6 6, 4 7 7 ( S. D. N. Y. 2 0 0 0) ( n oti n g t h at C h art er als o v ests a ut h orit y i n t h e P oli c e C o m missi o n er as
“ c hi ef e x e c uti v e of t h e P oli c e D e p art m e nt ” wit h “ c o g ni z a n c e a n d c o ntr ol of t h e g o v er n m e nt,
a d mi nistr ati o n, dis p ositi o n, a n d dis ci pli n e of t h e [ p oli c e] d e p art m e nt ”).
            T h e dis c o v er y r e c or d t o d at e s u p p orts Pl ai ntiffs’ all e g ati o ns i n t h eir c o m pl ai nts: F or m er
M a y or d e Bl asi o a n d C o m missi o n er S h e a wer e p ers o n all y i n v ol v e d i n t h e d ail y dir e cti o n a n d
ass ess m e nt of t h e N Y P D’s r es p o ns e t o t h e pr ot ests a n d d eli b er at el y a n d r e p e at e dl y f ail e d t o t a k e
st e ps t o pr e v e nt t h e N Y P D fr o m usi n g e x c essi v e f or c e a n d i m pr o p er arr ests a g ai nst n o n - vi ol e nt
pr ot est er s a g ai n a n d a g ai n t hr o u g h o ut t h e G e or g e Fl o y d pr ot ests. S e e, e. g. , E C F N o. 9 5 7, P a y n e
S e c o n d A m. C o m pl. ¶ ¶ 4, 1 9, 5 4, 5 9, 7 3- 7 8, 8 7- 9 5, 2 2 3- 2 2 8; D kt . 2 1-c v - 3 2 2, E C F N o. 5 1,
P e o pl e’s A m. C o m pl. ¶ ¶ 2 1, 2 2, 5 5, 9 8- 1 0 3, 3 8 7. T h es e ar e t e xt b o o k M o n ell cl ai ms. S e e A m n est y
A m. 3 6 1 F. 3 d at 1 1 3 ( pr o vi di n g as e x a m pl es of cir c u mst a n c es gi vi n g ris e t o m u ni ci p al li a bilit y
t hr o u g h t h e a p pr o v al or r atifi c ati o n of p oli c y m a k er i n cl u d e w h er e p oli c y m a k ers ar e “ a w ar e t h at
[ a cit y] p oli c y m a y b e u n c o nstit uti o n all y a p pli e d b y i n a d e q u at el y tr ai n e d e m pl o y e es b ut t h e cit y
c o ns ci o usl y c h o os es n ot t o tr ai n t h e m, or w h er e t h e cit y's offi ci al p oli c y o n t h e r e as o n a bl e us e of
f or c e i n arr ests is v ali d, b ut t h e cit y’s a ct u al pr a cti c e is t o us e e x c essi v e f or c e. ”) I d. at 1 2 6- 2 7.
T h us, t h e e xt e nt of M a y or d e Bl asi o’s a n d/ or C o m missi o n er S h e a’s a w ar e n ess of a n d p ers o n al
i n v ol v e m e nt i n a p pr o vi n g or r atif yi n g t h e u n c o nstit uti o n al c o n d u ct of t h e N Y P D i n p oli ci n g t h e
G e or g e Fl o y d pr ot est is of c e ntr al i m p ort a n c e t o Pl ai ntiffs’ cl ai ms.
     B. M r. d e Bl asi o H as U ni q u e F i rst- Ha n d K n o wl e d g e of H is P e rs o n al P a rti ci p ati o n i n
        A p p r o vi n g a n d R atif yi n g t h e N Y P D ’s P oli ci es, P r a cti c e s, St r at e g y, a n d T a cti cs i n
        P oli ci n g t h e G e o r g e Fl o y d P r ot ests .
           Pl ai ntiffs h a v e d e v el o p e d a r e c or d t o d at e i n di c ati n g t h at as e arl y as t h e first G e or g e
Fl o y d pr ot est i n N e w Y or k Cit y, M a y or d e Bl asi o w as c o nsist e ntl y i nf or m e d a b o ut t h e N Y P D’s
u n c o nstit uti o n al pr ot est p oli ci n g str at e gi es a n d t a cti cs a n d, at ti m es d uri n g t h e pr ot ests,
p ers o n all y a p pr o v e d t h e m. H o w e v er, c ert ai n f a cts c o n c er ni n g t h e f ull e xt e nt of M a y or d e
Bl asi o ’s p ers o n al a w ar e n ess a n d a p pr o v al or r atifi c ati o n of t h e N Y P D’s c o n d u ct r e m ai n wit hi n
his u ni q u e, first h a n d k n o wl e d g e b e c a us e ot h er wit n ess es di d n ot p oss ess t h e n e c ess ar y
k n o wl e d g e or pr es e nt e d c o nfli cti n g t esti m o n y t h at Mr. d e Bl asi o’s t esti m o n y c a n r es ol v e .




                                                                      3
          Case 1:20-cv-08924-CM                        Document 1039                   Filed 06/05/23               Page 4 of 7




            As a n e x a m pl e, o n M a y 2 8, pr ot est ers at U ni o n S q u ar e w er e m et wit h a n a g gr essi v e
p oli c e r es p o ns e b e gi n n i n g i n t h e l at e aft er n o o n a n d c o nti n ui n g i nt o t h e e v e ni n g. At 9: 4 8 p. m. t h at
e v e ni n g, M a y or d e Bl asi o wr ot e t o First D e p ut y M a y or D e a n F ul ei h a n, w h o s er v e d as t h e
3 0( b)( 6) wit n ess f or t h e Offi c e of t h e M a y or, “
                                                          . ” E x . A.2 T h e t h e n- M a y or f urth er wr ot e: “

                                                   ” I d. ( e m p h asis i n ori gi n al). Mr. F ul ei h a n, r e g ar di n g t his e m ail
e x c h a n g e, t estifi e d t h at h e di d n ot k n o w or di d n ot r e c all w hi c h wit n ess es t h e M a y or h e ar d fr o m,
w h at t h e y r e p ort e d t o hi m, w h at “ ass ur a n c es ” t h e M a y or r e c ei v e d fr o m t h e N Y P D hi er ar c h y, or
h o w t h os e first- h a n d r e p orts mi g ht h a v e c o nfli ct e d wit h t h e m. E x. B, F ul ei h a n D e p. 7 2: 5 - 7 3: 1 0.
           Mr. F ul ei h a n als o t estifi e d t h at as of M a y 3 1, 2 0 2 0, M a y or d e Bl asi o p ers o n all y “ b eli e v e d
it w o ul d b e n e c ess ar y t o i n v esti g at e t h e N Y P D’s r es p o ns e t o t h e pr ot ests t h at h a d o c c urr e d ” u p t o
t h at ti m e. E x. B, F ul ei h a n D e p. 3 2 9: 1 5- 2 0. B ut, w hil e Mr. F ul ei h a n t estifi e d t h at t h e M a y or’s c all
f or a n i n v esti g ati o n w as b as e d o n all e g ati o ns of mis c o n d u ct, h e c o ul d n ot r e c all a n y s p e cifi cs. I d.
at 3 2 9: 2 2- 3 3 0: 6. Gi v e n t h e 3 0( b)( 6) wit n ess’s g e n er al u n d erst a n di n g b ut a d mitt e d l a c k of
k n o wl e d g e o n s p e cifi cs, Mr. d e Bl asi o’s t esti m o n y h er e is i m p ort a nt f or est a blis hi n g w h e n his
k n o wl e d g e of mis c o n d u ct i n t h e N Y P D’s pr ot est p oli ci n g b e g a n a n d w h at st e ps, if a n y, h e t o o k
t o w ar d a d dr essi n g his c o n c er ns.
            Si mil arl y, t h e dis c o v er y r e c or d is cl e ar t h at M a y or d e Bl asi o r e c ei v e d i nf or m ati o n
c o n c er ni n g t h e N Y P D’s str at e gi es, t a cti cs, a n d t h eir e x e c uti o n b ef or e, d uri n g, a n d aft er t h e J u n e
4 pr ot est at M ott H a v e n . T h e r e c or d is als o cl e ar t h at t h e M a y or a p pr o v e d of at l e ast s o m e of
t h os e str at e gi es a n d t a cti cs. At a J u n e 5 pr ess a v ail a bilit y, t h e M a y or st at e d t h at h e p ers o n all y
r e vi e w e d i nt elli g e n c e p ur p ort e dl y s h o wi n g t h at t h e pr ot est or g a ni z ers i nt e n d e d t o e n c o ur a g e
vi ol e n c e a n d t h at “i n di vi d u als a p p e a r e d [ at t h e pr ot ests] wit h t o ols of vi ol e n c e, wit h t h e i nt e nt t o
d o vi ol e n c e i n t h at c o m m u nit y. ” E x. C, at 9. T h e M a y or t h e n st at e d t h at t h e N Y P D r es p o ns e at
M ott H a v e n i nt er v e n e d t o st o p vi ol e n c e “ eff e cti v el y, ” usi n g a pl a n t h at C o m missi o n er S h e a
d es cri b e d m o m e nts l at er as e x e c ut e d “ n e arl y fl a wl essl y. ” I d. T h e M a y or di d n ot
c o nt e m p or a n e o us l y c orr e ct or q u esti o n C o m missi o n er S h e a’s d es cri pti o n. At his J u n e 7, 2 0 2 0,
pr ess a v ail a bilit y, M a y or d e Bl asi o w as as k e d b y a r e p ort er , “ Di d y o u a p pr o v e t h e t a cti cs t h at w e
s a w at t h e N Y P D usi n g, st arti n g o n J u n e 3r d a n d J u n e 4t h ? T h at’s t h e us e of b at o ns, m or e s ort of
p us hi n g at pr ot ests, t h at ki n d of t hi n g ? Di d y o u a p pr o v e t h o s e ? ” S e e E x . D, at 1 4. T h e M a y or
r es p o n d e d, “I a p pr o v e d t h e br o a d str at e gi es a n d s o m eti m es v er y s p e cifi c c h oi c es. ” I d. at 1 5.
            B ut n o wit n ess fr o m t h e M a y or’s offi c e h as b e e n a bl e t o t estif y as t o w h at pl a n M a y or d e
Bl asi o k n e w of, w hi c h p arts h e a p pr o v e d, or t o w h at t h e e xt e nt t h e N Y P D’s e x e c uti o n of t h e pl a n
w as c o nsist e nt wit h t h e M a y or’s u n d erst a n di n g. T h e 3 0( b)( 6) wit n ess f or t h e Offi c e of t h e M a y or
t estifi e d t h at, “ w h at h a p p e n e d t h at ni g ht [J u n e 4], n o, t h at w as n ot a pl a n I w as a w ar e of. ” E x . B,
F ul ei h a n D e p. 2 2 0: 1 8- 2 2 1: 4. D uri n g t h e M ott H a v e n pr ot est o n J u n e 4, Mr. F ul ei h a n als o

2
    As t his d o c u m e nt w as pr o d u c e d wit h a “ c o nfi d e nti alit y ” d esi g n ati o n, it is n ot a p p e n d e d t o t his
l ett er. Pl ai ntiffs ar e e m aili n g t o C h a m b ers t h e s e v e n e x hi bits t o t his bri ef t h at w er e pr o d u c e d
wit h s u c h d esi g n ati o ns ( E x hi bits A, E, H, I, J, L, M) . P er t h e C o urt’s Pr a cti c e 2( E), D ef e n d a nts
m ust n o w m a k e a n a p pli c ati o n t o s e al t h os e d o c u m e nts.



                                                                       4
         Case 1:20-cv-08924-CM                        Document 1039                 Filed 06/05/23              Page 5 of 7




c o nfir m e d t h at d e Bl asi o c o m m u ni c at e d wit h s e ni or offi ci als i n t h e N Y P D w h er e n o ot h er st aff
fr o m t h e M a y or’s offi c e w as pr es e nt or, if a n el e ctr o ni c c o m m u ni c ati o n, c o pi e d. S e e, e. g. , E x . B,
F ul ei h a n D e p. 2 4 2: 7- 2 4 3: 1 6 (r e vi e wi n g a J u n e 4 e m ail b et w e e n S h e a a n d d e Bl asi o r ef er e n ci n g a
c all b et w e e n t h e m t h at e v e ni n g, w h e n as k e d “ A n d, w er e y o u o n t h at c all ?, ” F ul ei h a n r es p o n d e d,
“I d o n’t r e c all, ” a n d w h e n as k e d, “ D o y o u k n o w w h at w as s ai d o n t h at c all ?, ” F ul ei h a n
r es p o n d e d, “I d o n ot. ”). Pl ai ntiffs t h er ef or e m ust q u esti o n t h e f or m er M a y or a b o ut his
u n d erst a n di n g of t h e i nf or m ati o n h e r e c ei v e d i n t h os e c o n v ers ati o ns t o u n d erst a n d w hi c h
str at e gi es a n d t a cti cs h e a p pr o v e d, r atifi e d, or r ej e ct e d a n d w h e n a n d h o w h e m a d e t h os e
d e cisi o ns at M ott H a v e n a n d ot h er pr ot ests. S e e, e. g. , E x. B, F ul ei h a n D e p. 2 9 1: 2 2- 2 9 2: 2 ( “ Q. Is
t h er e a n e x a m pl e of a t a cti c t h at t h e N Y P D w a nt e d t o us e t h at t h e M a y or’s Offi c e s ai d, ‘ N o, y o u
c a n n ot.’ ? . . . A. I d o n’t r e c all. I d o n’t r e c all. “)
            C o m missi o n er S h e a als o c o m m u ni c at e d dir e ctl y wit h M a y or d e Bl asi o o n J u n e 4 as
r e p orts of p oli c e us e of f or c e at M ott H a v e n w er e cir c ul ati n g o n t h e i nt er n et. I n t h e t hi c k of t h e
m ass arr est at M ott H a v e n, M a y or d e Bl asi o c all e d C o m missi o n er S h e a at 8: 2 0 p. m., b ut Mr.
F ul ei h a n w as n ot k n o wl e d g e a bl e a b o ut t h e c o nt e nts of t h at c all. At 8: 5 9 p. m., S h e a e- m ail e d d e
Bl asi o dir e ctl y, n ot i n cl u di n g a n y o n e els e o n t h e e m ail, t o s a y t h at t h e M ott H a v e n pr ot est “
                                                                                                      ” E x. E , at D E F-
E _ 0 0 0 0 5 2 9 6 1 ( e m p h asis a d d e d). D uri n g a pr ess c o nf er e n c e t h e f oll o wi n g m or ni n g, M a y or d e
Bl asi o s ai d, “I’ v e s e e n wit h m y o w n e y es t h e m at eri als t h at w er e m e a nt t o e n c o ur a g e vi ol e n c e.
A n d t h e n, i n di vi d u als a p p e ar e d wit h t o ols of vi ol e n c e, wit h t h e i nt e nt t o d o vi ol e n c e i n t h at
c o m m u nit y. ” E x. C, at 9. H o w e v er, Mr. F ul ei h a n di d n ot r e c all w h et h er t h e M a y or’s offi c e e v er
as k e d f or or r e c ei v e d e vi d e n c e t o s u bst a nti at e C o m missi o n er S h e a’s r e p ort or ot h er N Y P D
i nt elli g e n c e. E x. B, F ul ei h a n D e p. 2 4 5: 1 5- 2 4 8: 2.
            A n d i n f a ct, pr ot est m o nit ors fr o m t h e M a y or’s offi c e r el a y e d t h eir c o nt e m p or a n e o us
o bs er v ati o ns of a p e a c ef ul pr ot est t h at w as m et wit h p oli c e us e of f or c e a n d m ass arr est f or
p ur p ort e d c urf e w vi ol ati o n s wit h o ut a d e q u at e n oti c e or o p p ort u nit y t o dis p ers e. E x. F , C arri o n
D e p. 1 8 6: 1 3- 2 0; 2 0 3: 1 3- 2 0 4: 1 0. Ulti m at el y, o nl y Mr. d e Bl asi o c a n t estif y t o his
c o nt e m p or a n e o us u n d erst a n di n g of t h e r e p orts h e r e c ei v e d a n d h o w t h e y i nf or m e d his d e cisi o n-
m a ki n g at t h e t i m e i n a p pr o vi n g or r atif yi n g t h e p oli c e r es p o ns e at M ott H a v e n or els e w h er e. T h e
a b o v e ar e j ust a f e w e x a m pl es t h at ill ustr at e t h e r el e v a nt u ni q u e, first h a n d e vi d e n c e t h at Mr. d e
Bl asi o p oss ess es i n t his c as e, gi v e n ot h er wit n ess es’ l a c k of k n o wl e d g e a n d/ or c o nfli cti n g
e vi d e n c e i n t h e r e c or d. T h e C o urt s h o ul d p er mit Pl ai ntiffs t o d e p os e Mr. d e Bl asi o t o fill t h es e
g a ps i n t h e dis c o v er y r e c or d c o n c er ni n g his p ers o n al r ol e i n a p pr o vi n g or r atif yi n g t h e N Y P D’s
r es p o ns e t o t h e G e or g e Fl o y d pr ot ests.
     C. M r. S h e a H as U ni q u e , Fi rst- Ha n d K n o wl e d g e C o n c e r ni n g H is A p p r o v al o r
        R atifi c ati o n of t h e N Y P D’s P oli ci n g of t h e G e o r g e Fl o y d P r ot est s a n d als o
        Inf o r m ati o n t h at I nf o r m e d B ot h His a n d t h e M a y o r’s D e cisi o n m a ki n g at t h at Ti m e .
           F or m er C o m missi o n er S h e a h as u ni q u e, first- h a n d k n o wl e d g e c o n c er ni n g t h e f ull e xt e nt
of his a w ar e n ess o gf a n d dir e ct i n v ol v e m e nt i n t h e N Y P D’s pl a n ni n g a n d e x e c uti o n of r es p o ns es
t o t h e p oli ci n g of t h e G e or g e Fl o y d pr ot ests.




                                                                     5
         Case 1:20-cv-08924-CM                        Document 1039                 Filed 06/05/23              Page 6 of 7




          C o m missi o n er S h e a w as p ers o n all y a n d dir e ctl y i n v ol v e d i n t h e dir e cti o n a n d ass ess m e nt
of t h e N Y P D’s r es p o ns e t o t h e G e or g e Fl o y d pr ot ests fr o m t h e st art. S e e, e. g. , E x. G, at 2 ( gi vi n g
st at us u p d at es o n pr ot ests, i n cl u di n g M a y 2 8 a n d M a y 2 9 pr ot ests); E x. H, at
D E F E P D 0 0 0 8 3 2 1 1 ( M a y 3 0, 9: 2 5 a. m. e- m ail fr o m S h e a t o M ull a n e, st ati n g , “

                                                                                                       e m p h asis i n ori gi n al) .
B y M a y 2 9, M a y or d e Bl asi o a n d C o m missi o n er S h e a w er e w ell a w ar e of t h e wi d es pr e a d us e of
f or c e at pr ot ests, i n cl u di n g t hr o u g h a n e-m ail s e nt b y M a y or d e Bl asi o e x cl usi v el y t o
C o m missi o n er S h e a f or w ar di n g a r e p ort er’s t w e et n oti n g at t h e M a y 2 9 pr ot est at B ar cl a y ’s
C e nt er , “
        ” E x. I. E arl y t h e f oll o wi n g d a y, S h e a r e q u est e d fr o m a n N Y P D offi ci al a list of

                                                                                                            E x. J. N ot a bl y, S h e a
di d n ot as k f or a n y i nf or m ati o n o n i nj ur e d pr ot est ers or us e- of-f or c e i n ci d e nts. S e e i d.
            As dis c uss e d wit h r es p e ct t o M a y or d e Bl asi o , C o m missi o n er S h e a pr o vi d e d i nf or m ati o n
dir e ctl y t o t h e M a y or t hr o u g h o n e- o n- o n e c o m m u ni c ati o ns, i n cl u di n g c o m m u ni c ati o ns o n J u n e 4
t h at c a us e d t h e M a y or t o dis c o u nt t h e first h a n d o bs er v ati o ns of his o w n st aff. S e e, e. g. , E x . E, at
D E F - E _ 0 0 0 0 5 2 9 6 1 – D E F - E _ 0 0 0 0 5 2 9 6 2 (J u n e 4, 2 0 2 0 e m ail b et w e e n o nl y S h e a a n d d e Bl asi o
w h er e M a y or d e Bl asi o writ es at 8: 2 0 p . m., “
                                                                                                                             Mr. S h e a’s
p ers o n al u n d erst a n di n g of t h e p oli ci n g pl a n at M ott H a v e n t h at h e c h ar a ct eri z e d as h a vi n g b e e n
e x e c ut e d “ n e arl y fl a wl essl y , ” E x. C, at 9 , g o t o est a blis hi n g w h et h er a n d t o w h at e xt e nt t h e m ass
arr est a n d us e of f or c e at M ott H a v e n w er e pr e - pl a n n e d. O nl y Mr. S h e a c a n t estif y t o his o w n
eff orts t o e ns ur e t h at t h e i nt elli g e n c e w as v ali d at e d b ef or e pr o vi di n g it t o t h e M a y or a n d w h et h er
a n d t o w h at e xt e nt t h e N Y P D’s f a ct -g at h eri n g pr o vi d e d r e as o n a bl e c a us e f or t h e D e p art m e nt’s
hi g h est-r a n k e d p oli c y m a k er t o a p pr o v e or r atif y t h e us e of f or c e a g ai nst p e a c ef ul pr ot est ers t h at
ni g ht. S e e E x. F, C arri o n D e p. 1 8 6: 1 3- 2 0; 2 0 3: 1 3- 2 0 4: 1 0.
           C o m missi o n er S h e a w as t h e pri m ar y — a n d s o m e ti m es s ol e— li ais o n b et w e e n t h e N Y P D
a n d t h e M a y or d uri n g t h e G e or g e Fl o y d pr ot ests. S e e E x. K, G al ati 3 0( b)( 6) D e p. R o u g h Tr.
1 9 6: 1 6- 1 9 7: 1 3 ( “I w o ul d s a y i n g e n er al, fr o m t h e p oli c e d e p art m e nt, c o m m u ni c ati o ns wit h t h e
m a y or’s offi c e g o t hr o u g h t h e p oli c e c o m missi o n er ”). C o m missi o n er S h e a fr e q u e ntl y a n d
dir e ctl y c o m m u ni c at e d N Y P D i nt elli g e n c e a n d pr o t est pl a n ni n g a n d str at e g y t o t h e m a y or,
s o m eti m es i n r e al ti m e. S e e, e. g. , E x. E, at D E F- E _ 0 0 0 0 5 2 9 6 1 – D E F - E _ 0 0 0 0 5 2 9 6 2 (J u n e 4,
2 0 2 0, e m ail b et w e e n o nl y S h e a a n d d e Bl asi o ); E x. L (J u n e 2 8, 2 0 2 0, e m ail b et w e e n d e Bl asi o
a n d S h e a w h er e S h e a s e nt d e Bl asi o                                                                ); E x. M (J ul y 2 2,
2 0 2 0, e m ail b et w e e n o nl y S h e a a n d d e Bl asi o r e g ar di n g
            D ef e n d a nts h a v e ar g u e d i n pri or bri efi n g o n t his iss u e t h at C o m missi o n er S h e a h as n o
u ni q u e, firs t- h a n d k n o wl e d g e r el e v a nt t o t his c as e n ot p oss ess e d b y t h e ot h er hi g h-r a n ki n g,
s e ni or N Y P D offi ci als w h o w o ul d b e pr o d u c e d i n t his c as e. S e e E C F N o. 8 4 1 at 7. B ut n o N Y P D
wit n ess t o d at e h as t estifi e d t h at t h e y h a d first - h a n d k n o wl e d g e of w h et h er a n d t o w h at e xt e nt t h e
N Y P D k e pt t h e M a y or a w ar e of t h eir pr ot est p oli ci n g str at e gi es, t a cti cs, a n d i nt elli g e n c e




                                                                     6
          Case 1:20-cv-08924-CM                     Document 1039                     Filed 06/05/23                  Page 7 of 7




g at h eri n g. S e e E x. K, G al ati 3 0( b)( 6) D e p. R o u g h Tr. 1 9 6: 1 6- 1 9 7: 1 3; s e e, e. g., i d. at 1 9 6: 5- 1 5
(C hi ef G al ati t estif yi n g t h at h e “ w as n ot i nt er a cti n g wit h t h e m a y or’s offi c e ”).
                                                                 * * * *
            Pl ai ntiffs t h er ef or e r es p e ctf ull y r e q u est t h at t h e C o urt d e n y D ef e n d a nts’ m oti o n f or a
pr ot e cti v e or d er a n d all o w t h e d e p ositi o ns of f or m er M a y or d e Bl asi o a n d f or m er C o m missi o n er
S h e a t o pr o c e e d, wit h t w o d a ys f or e a c h d e p ositi o n.



                                                     R es p e ctf ull y s u b mitt e d,



N E W Y O R K C I VI L L I B E R TI E S U NI O N                  T H E L E G A L A I D S O CI E T Y
  F O U N D A TI O N

B y: s/ P err y Gr oss m a n                                      B y: s/ C or e y St o u g ht o n
    P err y Gr oss m a n                                                C or e y St o u g ht o n
    J essi c a P err y                                                J e n n vi n e W o n g
    M oll y K. Bi kl e n                                                Ri g o dis A p pli n g
    D a ni el R. L a m bri g ht                                       P a ul a G ar ci a -S al a z ar
      R o b ert H o d gs o n                                          M ar g ar et H a dl e y
    V er o ni c a S al a m a                                          1 9 9 W at er Str e et
    Lis a L a pl a c e                                                  N e w Y or k, N Y 1 0 0 3 8
      C hrist o p h er T. D u n n                                     ( 2 1 2) 5 7 7- 3 3 6 7
     1 2 5 Br o a d Str e et, 1 9t h Fl o or                          cst o u g ht o n @l e g al- ai d. or g
      N e w Y or k, N Y 1 0 0 0 4                                     j w o n g @l e g al- ai d. or g
    ( 2 1 2) 6 0 7- 3 3 0 0                                           r a p pli n g @l e g al- ai d. or g
    p gr oss m a n @ n y cl u. or g                                   p g ar ci as al a z ar @l e g al - ai d. or g
    j p err y @ n y cl u. or g                                        m h a dl e y @l e g al - ai d. or g
    m bi kl e n @ n y cl u. or g
    dl a m bri g ht @ n y cl u. or g
    r h o d gs o n @ n y cl u. or g
    ll a pl a c e @ n y cl u. or g
    c d u n n @ n y cl u. or g


Att or n e ys f or t h e P a y n e Pl ai ntiffs


C c: All c o u ns el of r e c or d b y E C F




                                                                     7
